                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


D.V.D.; M.M.; E.F.D.; and O.C.G.,

             Plaintiffs,                                 Civil Action No. 25-cv-10676

                 v.

U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,

             Defendants.



                 INDEX OF EXHIBITS IN SUPPORT OF
 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR AN INDICATIVE
       RULING UNDER FEDERAL RULE OF CIVIL PROCEDURE 62.1
Exhibit   Description

          Marco Rubio (@SecRubio), X (Mar. 31, 2025, 8:25 AM),
  A
          https://x.com/SecRubio/status/1906684174020284784

          Nayib Bukele (@nayibbukele), X (Mar. 31, 2025, 9:42 AM),
  B
          https://x.com/nayibbukele/status/1906703745158660177
          Declaration of Robert L. Cerna, Acting Field Office Director, Enforcement and
  C       Removal Operations, U.S. Immigration and Customs Enforcement, J.G.G. v.
          Trump, No. 1-25-cv-00766-JEB, ECF 28-1 (D.D.C. Mar. 18, 2025)
          U.S. Department of State, Bureau of Democracy, Human Rights and
  D       Labor, Country Reports on Human Rights Practices for 2023: El Salvador (Apr.
          2024)
          U.S. Department of State, Bureau of Democracy, Human Rights and
  E       Labor, Country Reports on Human Rights Practices for 2023: Mexico (Apr.
          2024)
          U.S. Department of State, Bureau of Democracy, Human Rights and
  F       Labor, Country Reports on Human Rights Practices for 2023: Honduras (Apr.
          2024)
          U.S. Department of State, Bureau of Democracy, Human Rights and
  G
          Labor, Country Reports on Human Rights Practices for 2023: Libya (Apr. 2024)
          U.S. Department of State, Bureau of Democracy, Human Rights and
  H       Labor, Country Reports on Human Rights Practices for 2023: Rwanda (Apr.
          2024)
          Diplomatic Assurances and Rendition to Torture: The Perspective of the
          Statement Department’s Legal Advisor Before the House Foreign Affairs
   I      Subcommittee on International Organizations, Human Rights, and Oversight,
          110th Cong. 192 (2008) (statement of John B. Bellinger, III, Legal Advisor to the
          U.S. Secretary of State)
          Defendants’ Memorandum of Law in Opposition to Plaintiffs’ Emergency
   J      Motion for Temporary Restraining Order, Abrego Garcia v. Noem, No. 8:25-cv-
          00951-PX, ECF 11 (D. Md. Mar. 31, 2025)
          Emails between Plaintiffs’ Counsel and Defendants’ Counsel (Mar. 31, 2025 4:10
  K
          PM; Mar. 31, 2025 4:19 PM; Apr. 1, 2025 4:48 PM; Apr. 2, 2025 7:35 PM)




                                           1
                                CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the

registered participants as identified on the Notice of Electronic Filing (NEF).


                                                     s/ Trina Realmuto
                                                     Trina Realmuto
                                                     National Immigration Litigation Alliance

Dated: April 4, 2025




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